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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, JOHN DOE, and THOMAS
 BAKER,
                                     Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM
                           v.

 JASON KESSLER, et al.,
                                     Defendants.



                 PLAINTIFFS’ SECOND AMENDED LIST OF WITNESSES

        In accordance with the Court’s September 10, 2021 Order and pursuant to Fed. R. Civ. P.

 Rule 26(a)(3)(A), Plaintiffs set forth the following list of individuals that they believe at this time

 may be called as witnesses, either through live testimony or by use of deposition extracts. Plaintiffs

 reserve the right (a) not to call any of the listed witnesses at trial; (b) to call for rebuttal or

 impeachment purposes any persons not listed; (c) to call any witnesses listed on Defendants’

 witness lists; and (d) to call custodians of records solely for the purpose of establishing the

 foundational facts necessary to admit into evidence any exhibit whose admissibility Defendants

 challenge.
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                    Name                    Subject(s) of Expected                     Address & Phone Number 1
                                                  Testimony
     1      Alvarado, Chelsea          Certain Plaintiffs’ injuries;                 Contact c/o Kaplan Hecker &
                                       Certain Defendants’ and co-                   Fink, LLP
                                       conspirators’ actions during,                 350 5th Avenue, 63rd Floor
                                       among other things, the weekend               New York, NY 10118
                                       of August 11 and 12
     2      Alvarado, Jessica          Certain Plaintiffs’ injuries                  Contact c/o Kaplan Hecker &
                                                                                     Fink, LLP
                                                                                     350 5th Avenue, 63rd Floor
                                                                                     New York, NY 10118
     3      Baker, Thomas              Certain Plaintiffs’ injuries;                 Contact c/o Kaplan Hecker &
                                       Certain Defendants’ and co-                   Fink, LLP
                                       conspirators’ actions during,                 350 5th Avenue, 63rd Floor
                                       among other things, the weekend               New York, NY 10118
                                       of August 11 and 12
     4      Blair, Marissa             Certain Plaintiffs’ injuries;                 Contact c/o Kaplan Hecker &
                                       Certain Defendants’ and co-                   Fink, LLP
                                       conspirators’ actions during,                 350 5th Avenue, 63rd Floor
                                       among other things, the weekend               New York, NY 10118
                                       of August 11 and 12
     5      Cantwell,                  Certain Defendants’ and co-                   Christopher Cantwell 00991-
            Christopher                conspirators’ actions                         509
                                                                                     USP Marion, 4500 Prison Rd.
                                                                                     P.O. Box 2000
                                                                                     Marion, IL 62959
     6      Convisser, Julie,          Certain Plaintiffs’ injuries and              Contact c/o Kaplan Hecker &
            LCSW                       future mental health needs                    Fink, LLP
                                                                                     350 5th Avenue, 63rd Floor
                                                                                     New York, NY 10118
     7      D’Costa, Diane             Certain Defendants’ and co-                   Contact c/o Kaplan Hecker &
                                       conspirators’ actions during,                 Fink, LLP
                                       among other things, the weekend               350 5th Avenue, 63rd Floor
                                       of August 11 and 12                           New York, NY 10118
     8      Damigo, Nathan             Certain Defendants’ and co-                   c/o James E. Kolenich, Esq.
                                       conspirators’ actions                         Kolenich Law Office
                                                                                     9435 Waterstone Blvd. #140
                                                                                     Cincinnati, OH 45249
     9      Fenton, Stephen,           Analysis of August 12 car attack              Contact c/o Kaplan Hecker &
            P.E.                       and the opinions expressed in his             Fink, LLP
                                       expert report, including the basis            350 5th Avenue, 63rd Floor
                                       of his opinions                               New York, NY 10118



 1
         Plaintiffs can be contacted through Plaintiffs’ counsel. In light of security concerns, Plaintiffs will provide third-
         party witness contact information, as necessary to parties and counsel on a confidential basis upon request.

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     10   Brennan Gilmore     Certain Defendants’ and co-                          Contact c/o Kaplan Hecker &
                              conspirators’ actions during,                        Fink, LLP
                              among other things, the weekend
                              of August 11 and 12
     11   Groves, Allen, J.D. Certain Defendants’ and co-                          Contact c/o Kaplan Hecker &
                              conspirators’ actions during,                        Fink, LLP
                              among other things, the weekend                      350 5th Avenue, 63rd Floor
                              of August 11 and 12; Certain                         New York, NY 10118
                              Plaintiffs’ injuries
     12   Heimbach,           Certain Defendants’ and co-                          c/o William Edward ReBrook,
          Matthew             conspirators’ actions                                IV, Esq.
                                                                                   The ReBrook Law Office
                                                                                   6013 Clerkenwell Court
                                                                                   Burke, VA 22015
     13   Hill, Michael              Certain Defendants’ and co-                   c/o Bryan Jones, Esq.
                                     conspirators’ actions                         106 W. South St., Suite 211
                                                                                   Charlottesville, VA 22902
     14   Kessler, Jason             Certain Defendants’ and co-                   c/o James E. Kolenich, Esq.
                                     conspirators’ actions                         Kolenich Law Office
                                                                                   9435 Waterstone Blvd. #140
                                                                                   Cincinnati, OH 45249
     15   Kline, Elliot              Certain Defendants’ and co-                   117 Mesa Drive
                                     conspirators’ actions                         Reading, PA 19608
     16   Lipstadt, Deborah,         History, ideology, symbolism,                 Contact c/o Kaplan Hecker &
          Ph.D. 2                    and rhetoric of antisemitism;                 Fink, LLP
                                     historical and theoretical                    350 5th Avenue, 63rd Floor
                                     assessment of symbols and                     New York, NY 10118
                                     rhetoric displayed during the
                                     weekend of August 11 and 12 and
                                     the opinions expressed in her
                                     expert report, including the basis
                                     of her opinions
     17   Martin, Marcus             Certain Plaintiffs’ injuries;                 Contact c/o Kaplan Hecker &
                                     Certain Defendants’ and co-                   Fink, LLP
                                     conspirators’ actions during,                 350 5th Avenue, 63rd Floor
                                     among other things, the weekend               New York, NY 10118
                                     of August 11 and 12
     18   Muñiz, April               Certain Plaintiffs’ injuries;                 Contact c/o Kaplan Hecker &
                                     Certain Defendants’ and co-                   Fink, LLP
                                     conspirators’ actions during,                 350 5th Avenue, 63rd Floor
                                                                                   New York, NY 10118

 2
      As Plaintiffs indicated in a letter to the Court on August 27, 2021, Dr. Lipstadt has been nominated by President
      Biden to serve as the State Department’s special envoy to monitor and combat antisemitism, a position that
      requires confirmation by the Senate. (ECF No. 1036.) Plaintiffs are seeking to ascertain whether and how her
      nomination will affect Dr. Lipstadt’s ability to testify in this trial and will notify the Court and parties as soon as
      we have further information.

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                            among other things, the weekend
                            of August 11 and 12
  19   Parrott, Matthew     Certain Defendants’ and co-          c/o William Edward ReBrook,
                            conspirators’ actions                IV, Esq.
                                                                 The ReBrook Law Office
                                                                 6013 Clerkenwell Court
                                                                 Burke, VA 22015
  20   Ray, Robert          Certain Defendants’ and co-
       Azzmador             conspirators’ actions
  21   Reavis, Sharon,      Certain Plaintiffs’ future medical   Contact c/o Kaplan Hecker &
       R.N., M.S.,          care needs and the opinions          Fink, LLP
       C.R.C., C.C.M.       expressed in her expert report,      350 5th Avenue, 63rd Floor
                            including the basis of her           New York, NY 10118
                            opinions
  22   Romero, Natalie      Certain Plaintiffs’ injuries;        Contact c/o Kaplan Hecker &
                            Certain Defendants’ and co-          Fink, LLP
                            conspirators’ actions during,        350 5th Avenue, 63rd Floor
                            among other things, the weekend      New York, NY 10118
                            of August 11 and 12
  23   Schoep, Jeff         Certain Defendants’ and co-          c/o William Edward ReBrook,
                            conspirators’ actions                IV, Esq.
                                                                 The ReBrook Law Office
                                                                 6013 Clerkenwell Court
                                                                 Burke, VA 22015
  24   Simi, Peter, Ph.D.   Characteristics of the white         Contact c/o Kaplan Hecker &
                            supremacist movement and             Fink, LLP
                            whether Defendants’ utilized         350 5th Avenue, 63rd Floor
                            tools and tactics of the white       New York, NY 10118
                            supremacist movement and the
                            opinions expressed in his expert
                            report, including the basis of his
                            opinions
  25   Sines, Elizabeth     Certain Plaintiffs’ injuries;        Contact c/o Kaplan Hecker &
                            Certain Defendants’ and co-          Fink, LLP
                            conspirators’ actions during,        350 5th Avenue, 63rd Floor
                            among other things, the weekend      New York, NY 10118
                            of August 11 and 12
  26   Spencer, Richard     Certain Defendants’ and co-          734 Clearwater Ave.
                            conspirators’ actions                Whitefish, MT 59937
  27   Tubbs, Michael       Certain Defendants’ and co-          c/o Bryan Jones, Esq.
                            conspirators’ actions                106 W. South St., Suite 211
                                                                 Charlottesville, VA 22902
  28   Willis, Devin        Certain Plaintiffs’ injuries;        Contact c/o Kaplan Hecker &
                            Certain Defendants’ and co-          Fink, LLP
                            conspirators’ actions during,        350 5th Avenue, 63rd Floor
                                                                 New York, NY 10118

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                              among other things, the weekend
                              of August 11 and 12
  29    Wispelwey, Seth       Certain Plaintiffs’ injuries;        Contact c/o Kaplan Hecker &
                              Certain Defendants’ and co-          Fink, LLP
                              conspirators’ actions during,        350 5th Avenue, 63rd Floor
                              among other things, the weekend      New York, NY 10118
                              of August 11 and 12
  30    Webb, Nadia,          Certain Plaintiffs’ injuries and     Contact c/o Kaplan Hecker &
        Psy.D, MPAP,          future health needs and the          Fink, LLP
        ABPdN, FACPN          opinions expressed in her expert     350 5th Avenue, 63rd Floor
                              report, including the basis of her   New York, NY 10118
                              opinions
  31    Weiss, David,         Certain Plaintiffs’ injuries and     Contact c/o Kaplan Hecker &
        M.D.                  future medical care needs            Fink, LLP
                                                                   350 5th Avenue, 63rd Floor
                                                                   New York, NY 10118


 The Plaintiffs expect to present deposition testimony from the following witnesses, but reserve the

 right to present live testimony if necessary:

  Witnesses Who May Testify by Deposition
  1 Alduino, Erica      Certain Defendants’ and co-                Contact c/o Kaplan Hecker &
                        conspirators’ actions and                  Fink, LLP
                        ideology                                   350 5th Avenue, 63rd Floor
                                                                   New York, NY 10118
   2    Baker, Robert         Certain Defendants’ and co-          c/o Bryan Jones, Esq.
        (Ike)                 conspirators’ actions and            106 W. South St., Suite 211
                              ideology                             Charlottesville, VA 22902
   3    Casey, Patrick        Certain Defendants’ and co-          c/o James E. Kolenich, Esq.
                              conspirators’ actions                Kolenich Law Office
                                                                   9435 Waterstone Blvd. #140
                                                                   Cincinnati, OH 45249
   4    Chesny, Michael       Certain Defendants’ and co-          Contact c/o Kaplan Hecker &
                              conspirators’ actions and            Fink, LLP
                              ideology                             350 5th Avenue, 63rd Floor
                                                                   New York, NY 10118
   5    Colucci, Burt         Certain Defendants’ and co-          c/o William Edward ReBrook,
                              conspirators’ actions and            IV, Esq.
                              ideology                             The ReBrook Law Office
                                                                   6013 Clerkenwell Court
                                                                   Burke, VA 22015
   6    Daley, Benjamin       Certain Defendants’ and co-          Contact c/o Kaplan Hecker &
        Drake                 conspirators’ actions during,        Fink, LLP
                                                                   350 5th Avenue, 63rd Floor

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                              among other things, the weekend        New York, NY 10118
                              of August 11 and 12
   7    Duffy, Shane          Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
   8    Froelich,             Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
        Samantha              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
   9    Griffin, Bradley      Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
  10    Hopper, Dillon        Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
  11    Pistolis, Vasilios    Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
  12    Rousseau, Thomas      Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions and              Fink, LLP
                              ideology                               350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118


 The Plaintiffs may call the following additional witnesses at trial if the need arises:

  Witnesses Plaintiffs May Call
  1 Baumbusch, Clark, Certain Plaintiffs’ injuries and               Contact c/o Kaplan Hecker &
      M.D.                 future medical care needs                 Fink, LLP
                                                                     350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
   2    Gwathmey, Frank       Certain Plaintiffs’ injuries and       Contact c/o Kaplan Hecker &
        M.D.                  future medical care needs              Fink, LLP
                                                                     350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
   3    McCoy, Martha,        Certain Plaintiffs’ injuries           Contact c/o Kaplan Hecker &
        LCSW                                                         Fink, LLP
                                                                     350 5th Avenue, 63rd Floor
                                                                     New York, NY 10118
   4    Menning, Rebekah      Certain Defendants’ and co-            Contact c/o Kaplan Hecker &
                              conspirators’ actions during,          Fink, LLP
                                                                     350 5th Avenue, 63rd Floor

                                                   6
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                                       among other things, the weekend             New York, NY 10118
                                       of August 11 and 12
     5      Meyer, Brant               Authentication and/or explanation           Contact c/o Kaplan Hecker &
                                       of certain materials related to             Fink, LLP
                                       Defendants; the actions of                  350 5th Avenue, 63rd Floor
                                       Defendant Fields                            New York, NY 10118
     6      O’Connor, Robert,          Certain Plaintiffs’ injuries and            Contact c/o Kaplan Hecker &
            M.D.                       future medical care needs                   Fink, LLP
                                                                                   350 5th Avenue, 63rd Floor
                                                                                   New York, NY 10118
     7      Roberts, Andrea,           Certain Plaintiffs’ injuries and            Contact c/o Kaplan Hecker &
            Ph.D.                      future mental health needs                  Fink, LLP
                                                                                   350 5th Avenue, 63rd Floor
                                                                                   New York, NY 10118
     8      Sabato, Larry,             Certain Defendants’ and co-                 Contact c/o Kaplan Hecker &
            Ph.D.                      conspirators’ actions during,               Fink, LLP
                                       among other things, the weekend             350 5th Avenue, 63rd Floor
                                       of August 11 and 12                         New York, NY 10118
     9      Suchak, Sanjay             Authentication of photographs               Contact c/o Kaplan Hecker &
                                                                                   Fink, LLP
                                                                                   350 5th Avenue, 63rd Floor
                                                                                   New York, NY 10118
     10     Tabler, Angela             Certain Defendants and co-                  Contact c/o Kaplan Hecker &
                                       conspirators’ actions                       Fink, LLP
                                                                                   350 5th Avenue, 63rd Floor
                                                                                   New York, NY 10118
     11     Webster, Michael           Certain Defendants’ and co-                 Contact c/o Kaplan Hecker &
                                       conspirators’ actions during,               Fink, LLP
                                       among other things, the weekend             350 5th Avenue, 63rd Floor
                                       of August 11 and 12;                        New York, NY 10118
                                       Authentication of video footage
     12     Yutzy, Tyler               Certain Plaintiffs’ injuries                Contact c/o Kaplan Hecker &
                                                                                   Fink, LLP
                                                                                   350 5th Avenue, 63rd Floor
                                                                                   New York, NY 10118
     Document Custodians 3
      1 Aetna                          Authentication of insurance       151 Farmington Ave.
                                       records                           Hartford, CT 06156
                                                                         (800) 872-3862
     2      Alphatelemed               Authentication of medical records Alphatelemed
                                                                         2615 Columbia Pike Ste. 100
                                                                         Arlington, VA 22204

 3
         Plaintiffs hope to eliminate the need for many of the document custodian witnesses by agreement of the parties,
         but in an abundance of caution and in the absence of a stipulation, Plaintiffs may need to call these witnesses to
         lay foundation for various documents and records.


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                                                               (703) 589-9964
  3    AT&T                Authentication of phone records;    11760 US Highway 1. Suite
                           description of cell site data       300
                                                               North Palm Beach, FL 33408
                                                               (800) 291-4952
  4    Banner University   Authentication of medical records   1625 N Campbell Ave
       Medical Center                                          Tucson, AZ 85719
       Tuscon                                                  (520) 694-5102
  5    Bluespring Health   Authentication of medical records   21335 Signal Hill Plaza, Ste.
                                                               270
                                                               Sterling, VA, 20164
                                                               (703) 682-2471
  6    Bon Secours In      Authentication of medical records   8260 Atlee Road
       Motion Physical                                         Mechanicsville, VA 23116
       Therapy                                                 (804) 442-3670
  7    Bon Secours         Authentication of medical records   601 Watkins Center Pkwy. Ste.
       Medical Group                                           250
       Neurology Clinic                                        Midlothian, VA 23114
                                                               (804) 325-8750
  8    Charlottesville     Authentication of medical records   500 Martha Jefferson Dr
       Radiology LTD                                           Charlottesville, VA 22911
                                                                (434) 244-4580
  9    Central Virginia    Authentication of medical records   1111 Corporate park Drive
       Family Physicians                                       Suite D
       Medical Group                                           Forest, VA 24551
                                                               (434) 382-1125
  10   Commonwealth        Authentication of medical records   10201 Krause Rd.
       Family Practice                                         Chesterfield, VA 23832
                                                               (804) 748-6229
  11   Counseling          Authentication of medical records   335 Greenbriar Dr.
       Alliance of                                             Suite 206
       Virginia                                                Charlottesville, VA 22901
                                                               (434) 220- 0333
  12   Discord             Authentication of records           444 De Haro St. Suite 200
                                                               San Francisco, CA 94107
                                                               (888) 594-0085
  13   Facebook            Authentication of records           1 Hacker Way
                                                               Menlo Park, CA 94025
                                                               (650) 308-7300
  14   Gab                 Authentication of records           700 N. State St.
                                                               Clarks Summit, PA 18411
                                                               (650) 477-5525
  15   Google Fi           Authentication of phone records;    1600 Amphitheatre Pkwy.
                           description of cell site data       Mountain View, CA 94043
                                                               (650) 253-0000


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  16   Impact Trial        Authentication of demonstratives    299 Broadway, Suite 220
                                                               New York, NY 10007
                                                               (212) 967-0320
  17   Ivy Nursery Inc.    Authentication of employment        570 Broomley Road
                           and compensation records for        Charlottesville, VA 22901
                           certain Plaintiffs                  (434) 295-1183
  18   Jefferson Ob/Gyn    Authentication of medical records   600 Peter Jefferson Parkway
                                                               Charlottesville, VA 22911
                                                               (434) 977-4488
  19   J.W. Townsend,      Authentication of employment        3980 Seminole Trail
       Inc.                and compensation records for        Charlottesville, VA 22911
                           certain Plaintiffs                  (434) 973-1154
  20   MedExpress          Authentication of medical records   260 Pantops Center
       Urgent Care                                             Charlottesville, VA 22911
       Pantops                                                 (434) 244-3027
  21   Medical &           Authentication of medical records   1503 Santa Rosa Rd. #211
       Consulting                                              Richmond, VA 23229
       Associate                                               (804) 282-9100
  22   Move Medical        Authentication of medical records   224 Carlton Rd
       Massage & Sports                                        Charlottesville, VA 22902
       Therapy LLC                                             (434) 260-2727
  23   Nelson Byrd         Authentication of employment        310 East Market Street
       Woltz               and compensation records for        Charlottesville, VA 22902
                           certain Plaintiffs                  (434) 984-1358
  24   Offices of Dr.      Authentication of medical records   3217 Chamberlayne Ave.
       Normal Murdoch-                                         Richmond, VA 23227
       Kitt                                                    (804) 321-5400
  25   Optima Health       Authentication of medical records   4417 Corporation Ln
                                                               Virginia Beach, VA 23462
                                                               (877) 552-7401
  26   Pantops Family      Authentication of medical records   1490 Pantops Mountain Place
       Medicine                                                Suite 200,
                                                               Charlottesville, VA 22911
                                                               (434) 979-4440
  27   Passages Physical   Authentication of medical records   1110 Rose Hill Dr., Suite 101
       Therapy                                                 Charlottesville, VA 22903
                                                               (434) 979-5559
  28   Patient First       Authentication of medical records   5000 Cox Rd.
                                                               Glen Allen, VA 23060
                                                               (804) 968-5700
  29   Pivot Physical      Authentication of medical records   1490 Pantops Mountain Pl
       Therapy LTD                                             Charlottesville, VA 22911
                                                               (434) 245-6472
  30   Privia Medical      Authentication of medical records   950 N. Glebe Rd.
       Group                                                   Arlington, VA 22203
                                                               (571) 366-8850

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  31   Roberts Home         Authentication of medical records 1180 Seminole Trail
       Medical, Inc.                                          Charlottesville, VA 22901
                                                              (434) 973-7847
  32   Senarta Martha       Authentication of medical records 500 Martha Jefferson Drive
       Jefferson                                              Charlottesville, VA 22911
       Orthopedics and                                        (434) 244-4580
       Family Medicine
  33   Sprint               Authentication of phone records;  6200 Sprint Pkwy.
                            description of cell site data     Overland Park, KS 66251
                                                              (855) 560-7690
  34   Sweet Briar          Authentication of medical records 134 Chapel Ln.
       College Health &                                       Sweet Briar, VA 24595
       Counseling                                             (800) 831-6001
       Services
  35   T-Mobile             Authentication of phone records;  3625 132nd Ave. SE
                            description of cell site data     Bellevue, WA 98006
                                                              (877) 413-5903
  36   Tucker Psychiatric   Authentication of medical records 1000 Boulders Pkwy. Ste. 202
       Clinic                                                 Richmond, VA 23225
                                                              (804) 320-7881
  37   United HealthCare    Authentication of records         12018 Sunrise Valley Dr. Ste.
                                                              100
                                                              Reston, VA 20191
                                                              (571) 262-2245
  38   University of        Authentication of medical records 400 Brandon Ave.
       Virginia                                               Charlottesville, VA 22903
       Department of                                          (434) 924-5362
       Student Health
  39   University of        Authentication of medical records 535 Ray C Hunt Dr.
       Virginia                                               Charlottesville, VA 22903
       Encompass Health                                       (434) 244-2000
       Rehabilitation
       Center
  40   University of        Authentication of medical records 1215 Lee Street
       Virginia Health                                        Charlottesville, VA 22903
       Systems                                                (434) 924-0000
  41   University of        Authentication of medical records 545 Ray C Hunt Dr
       Virginia Medical                                       Suite 1100
       Center                                                 Charlottesville, VA 22903
       (Orthopaedics at                                       (434) 243-7778
       Fontaine)
  42   Verizon              Authentication of phone records;   140 West St.
                            description of cell site data      New York, NY 10007
                                                               (212) 395-1000




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  43   Virginia           Authentication of medical records 8301 Arlington Blvd. Ste. 308

 I I   Endocrinology
       Consultants
                                                            Fairfax, VA 22031
                                                            (703) 676-3433




 Date: October 16, 2021




                                                 Respectfully submitted,



                                                 Roberta A. Kaplan (pro hac vice)
                                                 Michael L. Bloch (pro hac vice)
                                                 Raymond P. Tolentino (pro hac vice)
                                                 Yotam Barkai (pro hac vice)
                                                 Emily C. Cole (pro hac vice)
                                                 Alexandra K. Conlon (pro hac vice)
                                                 Jonathan R. Kay (pro hac vice)
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                                                 New York, NY 10118
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                                                 mbloch@kaplanhecker.com
                                                 rtolentino@kaplanhecker.com
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                                                 ecole@kaplanhecker.com
                                                 aconlon@kaplanhecker.com
                                                 jkay@kaplanhecker.com
                                                 Counsel for Plaintiffs




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   Of Counsel:

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   Gabrielle E. Tenzer (pro hac vice)         William A. Isaacson (pro hac vice)
   Michael L. Bloch (pro hac vice)            Arpine S. Lawyer (pro hac vice)
   Raymond P. Tolentino (pro hac vice)        Giovanni Sanchez (pro hac vice)
   Yotam Barkai (pro hac vice)                Matteo Godi (pro hac vice)
   Emily C. Cole (pro hac vice)               PAUL, WEISS, RIFKIND, WHARTON &
   Alexandra K. Conlon (pro hac vice)         GARRISON LLP
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   Telephone: (212) 763-0883                  jphillips@paulweiss.com
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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 16, 2021, I served the following via ECF:

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         I hereby certify that on October 16, 2021, I also served the following via mail, electronic
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